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                          Exhibit 4

       Unclassified/Unimpaired Non-Voting Status Notice
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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


    In re:                                               Chapter 11

                                                          Case No. 23-10831 (MFW)
    Lordstown Motors Corp., et al.,1
                                                         (Jointly Administered)
                                Debtors.


                   NOTICE OF NON-VOTING STATUS TO HOLDERS OF
                UNCLASSIFIED AND UNIMPAIRED CLAIMS CONCLUSIVELY
              PRESUMED TO ACCEPT THE MODIFIED FIRST AMENDED JOINT
                               CHAPTER 11 PLAN OF
               LORDSTOWN MOTORS CORP. AND ITS AFFILIATED DEBTORS

TO: ALL HOLDERS OF UNCLASSIFIED CLAIMS AND CLAIMS AND INTERESTS
IN CLASSES 1 AND 2:

PLEASE BE ADVISED THAT IF YOUR CLAIM IS UNIMPAIRED UNDER THE
PLAN OR YOU ARE THE HOLDER OF AN UNCLASSIFIED CLAIM, YOU WILL
BE DEEMED TO HAVE GRANTED THE RELEASES CONTAINED IN ARTICLE
VIII.D OF THE PLAN UNLESS YOU FILE A TIMELY OBJECTION TO THE
RELEASES CONTAINED IN ARTICLE VIII.D OF THE PLAN.

             PLEASE TAKE NOTICE OF THE FOLLOWING:

        1.      On [●], 2023, the United States Bankruptcy Court for the District of Delaware (the
“Bankruptcy Court”) entered an order in the above-captioned chapter 11 cases [D.I. [●]] (the
“Disclosure Statement Order”): (a) approving the Disclosure Statement Pursuant to 11 U.S.C. §
1125 with Respect to First Amended Joint Chapter 11 Plan of Lordstown Motors Corp. and Its
Affiliated Debtors (together with all schedules and exhibits thereto, and as may be modified,
amended, or supplemented from time to time, the “Disclosure Statement”) and the form and
manner of notice; (b) approving procedures for soliciting, receiving, and tabulating votes on the
Plan and for filing objections to the Plan (the “Solicitation Procedures”); (c) approving the forms
of ballots; (d) approving the form, manner and scope of confirmation notices; (e) establishing
certain deadlines in connection with approval of the Disclosure Statement and confirmation of the
Modified First Amended Joint Chapter 11 Plan of Lordstown Motors Corp. and Its Affiliated




1
      The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown Motors
      Corp. (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service
      address is 27000 Hills Tech Ct., Farmington Hills, MI 48331.
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Debtors (together with all schedules and exhibits thereto, and as may be modified, amended, or
supplemented from time to time, the “Plan”); 2 and (f) granting related relief.

        2.     You are receiving this notice because you are the holder of a Claim(s) in Class 1
(Other Priority Claims) and Class 2 (Secured Claims) under the Plan (the “Unimpaired Non-
Voting Classes”), or you are a holder of an Administrative Claim, Priority Tax Claim, or
Professional Fee Claim, which are unclassified under the Plan (collectively, the “Unclassified
Claims”). Pursuant to the terms of Article III of the Plan, holders of Unimpaired Claims and
Unclassified Claims are conclusively presumed to have accepted the Plan and/or are not
entitled to vote on the Plan. Accordingly, this notice is being sent to you for informational
purposes only.

         3.    The United States Bankruptcy Court for the District of Delaware (the “Bankruptcy
Court”) has scheduled a hearing beginning on December 19, 2023, [●] a.m. (prevailing Eastern
Time) (the “Confirmation Hearing”) to consider whether to confirm the Plan. The Confirmation
Hearing will be held before the Honorable Mary F. Walrath, United States Bankruptcy Judge, at
the Bankruptcy Court, located at 824 North Market Street, Fifth Floor, Courtroom No. 4,
Wilmington, Delaware 19801. Please be advised that the Confirmation Hearing may be
adjourned or continued from time to time by the Bankruptcy Court or the Debtors without
further notice other than as indicated in any notice or agenda of matters scheduled for a
particular hearing that is filed with the Bankruptcy Court or by being announced in open
court. If the Confirmation Hearing is continued, the Debtors will post the new date and time of
the Confirmation Hearing at https://www.kccllc.net/lordstown. The Plan may be modified, if
necessary, prior to, during, or as a result of the Confirmation Hearing, without further notice to
creditors or other parties in interest, unless such notice is required by the Bankruptcy Code,
Bankruptcy Rules, or other applicable law.

         4.      Notwithstanding the fact that you are not entitled to vote to accept or reject the Plan
you nevertheless may be a party in interest in these Chapter 11 Cases and you, therefore, may be
entitled to participate in these Chapter 11 Cases, including by filing objections to confirmation of
the Plan. If you would like to object to the Plan, you may do so by filing your objection no later
than December 8, 2023 at 4:00 P.M. (prevailing Eastern Time) (the “Plan Objection
Deadline”). Any objections or responses to confirmation of the Plan, must: (a) be in writing;
(b) state the name and address of the objecting party and the nature and amount of the Claim of
such party; (c) state with particularity the legal and factual basis and nature of any objection to the
Plan and include any evidentiary support therefor, and if practicable, a proposed modification to
the Plan that would resolve such objection; (d) conform to the Bankruptcy Rules, the local rules
of the Bankruptcy Court, and any order of the Bankruptcy Court; and (e) be filed with the
Bankruptcy Court, 824 North Market Street, Third Floor, Wilmington, Delaware 19801, together
with proof of service on or before the Plan Objection Deadline, and served so as to be actually
received by the parties below on or before the Plan Objection Deadline, which service may be
through the CM/ECF system, with courtesy copies by email and U.S. mail:



2
    Capitalized terms used but not otherwise defined herein have the meanings ascribed to such terms in the Plan or
    the Disclosure Statement, as applicable.

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    (a)     counsel to the Debtors, (i) White & Case LLP, Southeast Financial Center, 200
            South Biscayne Boulevard, Suite 4900, Miami, FL 33131 (Attn: Thomas E Lauria
            (tlauria@whitecase.com), Matthew Brown (mbrown@whitecase.com), and Fan B.
            He (fhe@whitecase.com)), 1221 Avenue of the Americas, New York, NY 10020
            (Attn: David Turetsky (david.turetsky@whitecase.com)), 111 South Wacker Drive,
            Suite 5100, Chicago, IL 60606 (Attn: Jason N. Zakia (jzakia@whitecase.com)),
            and 555 South Flower Street, Suite 2700, Los Angeles, CA 90071 (Attn: Roberto
            Kampfner (rkampfner@whitecase.com), Doah Kim (doah.kim@whitecase.com),
            and RJ Szuba (rj.szuba@whitecase.com)), and (ii) (ii) Womble Bond Dickinson
            (US) LLP, 1313 North Market Street, Suite 1200, Wilmington, Delaware 19801
            (Attn: Donald J. Detweiler (don.detweiler@wbd-us.com) and Morgan L. Patterson
            (morgan.patterson@wbd-us.com));

    (b)     the U.S. Trustee, 844 King Street, Suite 2207, Lockbox 35, Wilmington, DE 19801
            (Attn: Benjamin A. Hackman (Benjamin.A.Hackman@usdoj.gov));

    (c)     counsel to the Creditors’ Committee, Troutman Pepper Hamilton Sanders LLP,
            Hercules Plaza, Suite 5100 1313 N. Market Street, Suite 5100 Wilmington, DE
            19801 (Attn: David M. Fournier (david.fournier@troutman.com), and 875 Third
            Avenue New York, NY 10022 (Attn: Deborah Kovsky-Apap
            (deborah.kovsky@troutman.com), and 3000 Two Logan Square, 18th & Arch
            Streets,    Philadelphia,   PA     19103    (Attn:    Francis   J.   Lawall
            (francis.lawall@troutman.com)); and

    (d)     counsel to the Equity Committee, (i) Morris James LLP, 500 Delaware Avenue,
            Suite     1500,     Wilmington,   DE    19801    (Attn:   Eric    J.    Monzo
            (emonzo@morrisjames.com) and Brya M. Keilson (bkeilson@morrisjames.com));
            and (ii) Brown Rudnick LLP, 7 Times Square, New York, NY 10036 (Attn: Robert
            J.    Stark     (rstark@brownrudnick.com)    and   Bennett     S.    Silverberg
            (bsilverberg@brownrudnick.com)).



IF ANY OBJECTION TO CONFIRMATION OF THE PLAN IS NOT FILED AND
SERVED STRICTLY AS PRESCRIBED HEREIN, THE OBJECTING PARTY MAY BE
BARRED FROM OBJECTING TO CONFIRMATION OF THE PLAN AND MAY NOT
BE HEARD AT THE CONFIRMATION HEARING.


IMPORTANT INFORMATION REGARDING RELEASES AND INJUNCTIONS

ARTICLE VIII.D OF THE PLAN PROVIDES FOR THE FOLLOWING RELEASES BY
HOLDERS OF CLAIMS AND INTERESTS:

    D.      Releases by Holders of Claims and Interests



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        As of the Effective Date, for good and valuable consideration, the adequacy of which
is hereby confirmed, each Releasing Party3 shall be deemed to have conclusively, absolutely,
unconditionally, irrevocably, and forever released, waived, and discharged each Debtor,
Post-Effective Date Debtor, and other Released Party4 from any and all Claims, obligations,
rights, suits, damages, Causes of Action, remedies, and liabilities whatsoever (in each case,
whether prepetition or postpetition), including any derivative Claims asserted or that may
be asserted on behalf of the Debtors or their Estates, that such Entity would have been legally
entitled to assert in their own right (whether individually or collectively) or on behalf of the
Holder of any Claim or Interest, whether known or unknown, foreseen or unforeseen,
existing or hereinafter arising, in law, equity, or otherwise, based on or relating to, or in any
manner arising from, in whole or in part, the Debtors or the conduct of their business (in
each case, whether prepetition or postpetition), the formulation, preparation, dissemination,
or negotiation of the Plan, the Disclosure Statement, any contract, instrument, release, or
other agreement or document created or entered into in connection with the Plan, the
Disclosure Statement, the Chapter 11 Cases, the pursuit of Confirmation, the pursuit of
Consummation, the administration and implementation of the Plan, including the
distribution of property under the Plan, or any other related agreement, or upon any other
act or omission, transaction, agreement, event, or other occurrence taking place on or before
the Effective Date (in each case, whether prepetition or postpetition) related or relating to
the foregoing. Without limiting the generality of the foregoing, and subject to the paragraph
directly below, pursuant to the Releases set forth in this Article VIII.D, each Releasing Party
shall be deemed to have conclusively, absolutely, unconditionally, irrevocably, and forever
released, waived, and discharged each Released Party from any Claims related to or asserted

3
  “Releasing Party” means each of the following in their capacity as such: (i) all Holders of Claims or Interests that
vote to accept the Plan; (ii) all Holders of Claims or Interests that are entitled to vote on the Plan who vote to reject
the Plan and opt in to the third party releases provided for in Article VIII.D by checking the box on the applicable
Ballot or form indicating that they opt in to granting such releases in the Plan submitted on or before the Voting
Deadline; and (iii) with respect to each of the foregoing Entities in clauses (i) and (ii), such Entity and its current and
former Affiliates, and such Entities’ and their current and former Affiliates’ current and former directors, managers,
officers, predecessors, successors, and assigns, subsidiaries, and each of their respective current and former equity
holders, officers, directors, managers, principals, members, employees, agents, advisory board members, financial
advisors, partners, attorneys, accountants, managed accounts or funds, management companies, fund advisors,
investment bankers, consultants, representatives, and other professionals, each in its capacity as such; provided,
however, that the Entities identified in part (iii) shall be Releasing Parties only to the extent the corresponding Entities
in parts (i) and (ii) are legally able to bind such Entities in part (iii) to the releases contained in the Plan under applicable
law; provided, further, that, subject to the terms of Article VIII.D, the Putative Class Action Representatives shall not
be deemed to be Releasing Parties.
4
  “Released Party” means each of the following in their capacity as such: (i) the Debtors; (ii) the Post-Effective Date
Debtors; (iii) each of the Debtors’ Estates; (iv) the UCC, (v) each of the UCC Members, solely in its capacity as a
UCC Member; (vi) the EC; (vii) each of the EC Members, solely in its capacity as an EC Member; and (viii) with
respect to each of the foregoing Entities in clauses (i) through (vii), their respective current and former officers,
directors, employees, attorneys, accountants, investment bankers, consultants and other professionals other than
Excluded Parties, each in its capacity as such; provided that, notwithstanding anything in the foregoing, any Person
or Entity that is an Excluded Party shall not be a Released Party; provided further that, notwithstanding anything in
the foregoing, any Person or Entity that is entitled to vote on the Plan but does not vote to accept the Plan or otherwise
opt in to the releases shall not be a Released Party.

“Excluded Parties” means Foxconn and the Former Directors and Officers.


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in the Putative Class Actions (which actions include, for the avoidance of any doubt, the Ohio
Securities Class Action, the Delaware Shareholder Class Action, and the Post-Petition
Securities Action). Notwithstanding anything to the contrary in the foregoing, the releases
set forth in this Article VIII.D shall not be construed as (i) releasing any Released Party from
Claims or Causes of Action arising from an act or omission that is judicially determined by
a Final Order to have constituted actual fraud, willful misconduct, or gross negligence,
(ii) releasing any timely filed Proof of Claim (as may be validly amended under the Plan or
as maybe permitted by the Bankruptcy Code and Bankruptcy Rules) or any post-Effective
Date obligations of or under (A) any party or Entity under the Plan, (B) any Executory
Contract or Unexpired Lease to the extent such Executory Contract or Unexpired Lease has
been assumed by the Debtors pursuant to Final Order, or (C) any document, instrument, or
agreement executed to implement the Plan, or (iii) releasing any rights to distributions
required to be paid or delivered pursuant to the Plan or the Confirmation Order.

       Notwithstanding anything to the contrary in the preceding paragraph, the Putative
Class Action Representatives shall not be deemed to constitute Releasing Parties; provided,
that the Debtors do not concede that the certification of a class is appropriate in any of the
Putative Class Actions and the exclusion of the Putative Class Action Representatives from
the releases set forth herein shall not constitute an admission by any Person or Entity,
including the Debtors, that a class is appropriate in any of the Putative Class Actions;
provided further, that the Debtors do not concede that the exclusion of the Putative Class
Action Representatives from the releases set forth herein in any way binds the other
members of any putative class or in any way affects the decision of any such putative class
members to be a Releasing Party and grant the releases set forth herein. All of the rights of
the Debtors, the Putative Class Action Representatives and any other party in connection
with the potential certification of any putative class and/or the granting of releases are
expressly reserved in all respects. If the exclusion of the Putative Class Action
Representative from the releases set forth herein does not bind other class members (as is
the Debtors’ contention), each such class member that is a Releasing Party under the terms
of the Plan shall be deemed to have conclusively, absolutely, unconditionally, irrevocably,
and forever released, waived, and discharged each Released Party from any Claims related
to or asserted in the Putative Class Actions (which actions include, for the avoidance of any
doubt, the Ohio Securities Class Action, the Delaware Shareholder Class Action, and the
Post-Petition Securities Action).

       Additionally, notwithstanding anything to the contrary in the Plan or the
Confirmation Order, nothing herein or therein does, shall, or may be construed to release,
the Debtors or bar the assertion of claims against them as nominal defendants in the Post-
Petition Securities Action for purposes of preserving and enforcing rights to coverage under
and recovery of the proceeds of the D&O Liability Insurance Policies.

PLEASE BE ADVISED THAT IF YOUR CLAIM IS UNIMPAIRED UNDER THE
PLAN OR YOUR CLAIM IS UNCLASSIFIED UNDER THE PLAN, YOU WILL BE
DEEMED TO HAVE GRANTED THE RELEASES CONTAINED IN ARTICLE
VIII.D OF THE PLAN UNLESS YOU FILE A TIMELY OBJECTION TO THE
RELEASES CONTAINED IN ARTICLE VIII.D OF THE PLAN BY THE PLAN

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OBJECTION DEADLINE.

THE PLAN CONTAINS FURTHER RELEASE, INJUNCTION, AND EXCULPATION
PROVISIONS, WHICH WILL BECOME EFFECTIVE IF THE PLAN IS CONFIRMED.

ARTICLE VIII OF THE PLAN FURTHER PROVIDES:

         C.       Releases by the Debtors

        Pursuant to section 1123(b) of the Bankruptcy Code, for good and valuable
consideration, the adequacy of which is hereby confirmed, as of the Effective Date, the
Debtors and their Estates, the Post-Effective Date Debtors and each of their respective
current and former Affiliates (with respect to non-Debtors, to the extent permitted by
applicable law), on behalf of themselves and their respective Estates, including, without
limitation, any successor to the Debtors or any Estate representative appointed or selected
pursuant to section 1123(b)(3) of the Bankruptcy Code, shall be deemed to have conclusively,
absolutely, unconditionally, irrevocably, and forever released, waived, and discharged the
Released Parties from any and all Claims, Interests, obligations, rights, suits, damages,
Causes of Action, remedies, and liabilities whatsoever, in each case, whether prepetition or
postpetition (including any derivative Claims asserted or that may be asserted on behalf of
the Debtors or their Estates), whether known or unknown, foreseen or unforeseen, existing
or hereinafter arising, in law, equity, or otherwise, based on or relating to, or in any manner
arising from, in whole or in part, the Debtors or the conduct of their business (in each case,
whether prepetition or postpetition), the formulation, preparation, dissemination,
negotiation of the Plan, the Disclosure Statement, any contract, instrument, release, or other
agreement or document created or entered into in connection with the Plan, the Disclosure
Statement, the Chapter 11 Cases, the pursuit of Confirmation, the pursuit of Consummation,
the administration and implementation of the Plan, including the distribution of property
under the Plan, or any other related agreement, or upon any other act or omission,
transaction, agreement, event, or other occurrence taking place on or before the Effective
Date (in each case, whether prepetition or postpetition) related or relating to the foregoing.
Notwithstanding anything to the contrary in the foregoing, the releases set forth in this
Article VIII.C shall not release (i) any Released Party from Claims or Causes of Action
arising from an act or omission that is judicially determined by a Final Order to have
constituted actual fraud, willful misconduct, or gross negligence, or (ii) any post-Effective
Date obligations of any party or Entity under the Plan or any document, instrument, or
agreement executed to implement the Plan.

         E.       Exculpation

Except as otherwise specifically provided in the Plan, no Exculpated Party5 shall have or
incur liability for, and each Exculpated Party is hereby exculpated from, any Cause of Action

5
  “Exculpated Parties” means each of the following in their capacity as such: (i) the Debtors; (ii) the Chapter 11
Directors and Officers, (iii) agents, members of management and other employees of the Debtors, in each case who
are or were acting in such capacity on or after the Petition Date; (iv) the UCC and the UCC Members; (v) the EC and
the EC Members; and (vi) all predecessors, successors and assigns, subsidiaries, affiliates, members, partners, officers,

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for any claim related to any act or omission from the Petition Date to the Effective Date in
connection with, relating to, or arising out of, the Chapter 11 Cases, in whole or in part, the
Debtors, the formulation, preparation, dissemination, negotiation, of the Plan, the Disclosure
Statement, any contract, instrument, release, or other agreement or document created or
entered into in connection with the Plan, the Disclosure Statement, the filing of the Chapter
11 Cases, the pursuit of Confirmation, the pursuit of Consummation, the administration and
implementation of the Plan or the distribution of Cash under the Plan, or any other related
agreement, except for Claims or Causes of Action arising from an act or omission that is
judicially determined in a Final Order to have constituted actual fraud, willful misconduct,
or gross negligence, but in all respects, such Exculpated Parties shall be entitled to the fullest
extent permitted by law to reasonably rely upon the advice of counsel with respect to their
duties and responsibilities. The Exculpated Parties have, and upon Consummation of the
Plan, shall be deemed to have, participated in good faith and in compliance with the
applicable laws with regard to the solicitation of, and distribution of, consideration pursuant
to the Plan and, therefore, are not, and on account of such distributions shall not be, liable
at any time for the violation of any applicable law, rule, or regulation governing the
solicitation of acceptances or rejections of the Plan or such distributions made pursuant to
the Plan.

         F.       Injunction

      EXCEPT AS OTHERWISE EXPRESSLY PROVIDED IN THE PLAN OR FOR
DISTRIBUTIONS REQUIRED TO BE PAID OR DELIVERED PURSUANT TO THE
PLAN OR THE CONFIRMATION ORDER, ALL ENTITIES THAT HAVE HELD,
HOLD, OR MAY HOLD CLAIMS OR INTERESTS THAT HAVE (1) BEEN RELEASED
PURSUANT TO ARTICLE VIII.C OR ARTICLE VIII.D OF THE PLAN, (2) SHALL BE
DISCHARGED PURSUANT TO ARTICLE VIII.D OF THE PLAN, OR (3) ARE SUBJECT
TO EXCULPATION PURSUANT TO ARTICLE VIII.E OF THE PLAN, ARE
PERMANENTLY ENJOINED, FROM AND AFTER THE EFFECTIVE DATE, FROM
TAKING ANY OF THE FOLLOWING ACTIONS AGAINST, AS APPLICABLE, THE
DEBTORS, THE REORGANIZED DEBTORS, THE RELEASED PARTIES (TO THE
EXTENT OF THE RELEASES PROVIDED PURSUANT TO ARTICLE XIII.D WITH
RESPECT TO THE RELEASED PARTIES), OR THE EXCULPATED PARTIES (TO
THE EXTENT OF THE EXCULPATION PROVIDED PURSUANT TO ARTICLE VIII.E
OF THE PLAN WITH RESPECT TO THE EXCULPATED PARTIES):
(I) COMMENCING OR CONTINUING IN ANY MANNER ANY ACTION OR OTHER
PROCEEDING OF ANY KIND ON ACCOUNT OF OR IN CONNECTION WITH OR
WITH RESPECT TO ANY SUCH CLAIMS OR INTERESTS; (II) ENFORCING,
ATTACHING, COLLECTING, OR RECOVERING BY ANY MANNER OR MEANS ANY
JUDGMENT, AWARD, DECREE, OR ORDER AGAINST SUCH ENTITIES ON
ACCOUNT OF OR IN CONNECTION WITH OR WITH RESPECT TO ANY SUCH
CLAIMS OR INTERESTS; (III) CREATING, PERFECTING, OR ENFORCING ANY
LIEN OR ENCUMBRANCE OF ANY KIND AGAINST SUCH ENTITIES OR THE

directors, agents, attorneys, advisors, accountants, investment bankers, consultants, and other professionals, to the
extent such parties are or were acting in such capacity of any of the Persons identified in (i), (ii), (iii) (iv), and (v)
above on or after the Petition Date.

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PROPERTY OR THE ESTATES OF SUCH ENTITIES ON ACCOUNT OF OR IN
CONNECTION WITH OR WITH RESPECT TO ANY SUCH CLAIMS OR INTERESTS;
(IV) EXCEPT TO THE EXTENT REQUIRED TO RENDER HOLDERS OF CLASS 5
UNIMPAIRED, ASSERTING ANY RIGHT OF SETOFF, SUBROGATION, OR
RECOUPMENT OF ANY KIND AGAINST ANY OBLIGATION DUE FROM SUCH
ENTITIES OR AGAINST THE PROPERTY OF SUCH ENTITIES ON ACCOUNT OF OR
IN CONNECTION WITH OR WITH RESPECT TO ANY SUCH CLAIMS OR
INTERESTS UNLESS SUCH ENTITY HAS TIMELY ASSERTED SUCH SETOFF
RIGHT IN A DOCUMENT (WHICH MAY BE A PROOF OF CLAIM) FILED WITH THE
BANKRUPTCY COURT IN ACCORDANCE WITH THE TERMS OF THE PLAN
EXPLICITLY PRESERVING SUCH SETOFF, AND NOTWITHSTANDING AN
INDICATION OF A CLAIM OR INTEREST OR OTHERWISE THAT SUCH ENTITY
ASSERTS, HAS, OR INTENDS TO PRESERVE ANY RIGHT OF SETOFF PURSUANT
TO APPLICABLE LAW OR OTHERWISE; AND (V) COMMENCING OR
CONTINUING IN ANY MANNER ANY ACTION OR OTHER PROCEEDING OF ANY
KIND ON ACCOUNT OF OR IN CONNECTION WITH OR WITH RESPECT TO ANY
SUCH CLAIMS OR INTERESTS RELEASED OR SETTLED PURSUANT TO THE
PLAN.

     FOR THE AVOIDANCE OF DOUBT, NOTHING IN ARTICLE VIII.F OF THE
PLAN SHALL AFFECT ANY RIGHT OF FOXCONN TO SETOFF OR RECOUP THE
AMOUNT OF ANY ALLOWED CLAIM OR THE AMOUNT OF ANY DISTRIBUTIONS
TO WHICH THEY ARE ENTITLED ON ACCOUNT OF ALLOWED FOXCONN
PREFERRED STOCK INTERESTS, IF ANY, AND ALL SUCH RIGHTS SHALL BE
FULLY PRESERVED TO THE EXTENT AVAILABLE UNDER APPLICABLE LAW
(AND ANY RIGHT OF THE DEBTORS AND THE POST-REORGANIZED DEBTORS
WITH RESPECT TO THE FOREGOING SHALL ALSO BE PRESERVED).


                ACCESS TO SOLICITATION MATERIALS:

THE PLAN, DISCLOSURE STATEMENT AND DISCLOSURE STATEMENT ORDER,
INCLUDING THE SOLICITATION PROCEDURES AND OTHER EXHIBITS MAY
BE          ACCESSED,         FREE         OF       CHARGE          AT
HTTPS://WWW.KCCLLC.NET/LORDSTOWN           BY   CLICKING     ON    THE
“SOLICITATION MATERIALS” TAB ON THE HOME PAGE. YOU CAN ALSO
REQUEST, FREE OF CHARGE, ADDITIONAL COPIES IN PAPER OR FLASH
DRIVE FORMAT OF ANY SOLICITATION PACKAGE MATERIALS BY (A)
CALLING THE DEBTORS’ TOLL-FREE RESTRUCTURING HOTLINE AT (877) 709-
4757 (U.S./CANADA) OR (424) 236-7235 (INTERNATIONAL); (B) VISITING THE
DEBTORS’             RESTRUCTURING              WEBSITE             AT
HTTPS://WWW.KCCLLC.NET/LORDSTOWN; (C) WRITING TO LORDSTOWN
PROCESSING CENTER, C/O KURTZMAN CARSON CONSULTANTS LLC, 222 N.
PACIFIC COAST HIGHWAY, SUITE 300, EL SEGUNDO, CA 90245, OR (D)
EMAILING LORDSTOWNINFO@KCCLLC.COM (WITH ‘LORDSTOWN’ IN THE
SUBJECT LINE). AS SOON AS REASONABLY PRACTICABLE AFTER RECEIVING

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SUCH A REQUEST, THE SOLICITATION AGENT WILL PROVIDE YOU WITH THE
COPIES YOU REQUESTED.

IF YOU HAVE QUESTIONS WITH RESPECT TO YOUR RIGHTS UNDER THE PLAN
OR ABOUT ANYTHING STATED HEREIN OR IF YOU WOULD LIKE TO OBTAIN
ADDITIONAL INFORMATION, PLEASE CONTACT THE SOLICITATION AGENT AT
THE NUMBER OR ADDRESS SPECIFIED ABOVE. PLEASE NOTE THAT THE
SOLICITATION AGENT MAY NOT PROVIDE LEGAL ADVICE. IF YOU NEED
LEGAL ADVICE, PLEASE CONSULT WITH YOUR ATTORNEY.




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Dated: October [●], 2023                   WHITE & CASE LLP
                                           Thomas E Lauria (admitted pro hac vice)
Respectfully submitted,
                                           Matthew C. Brown (admitted pro hac vice)
                                           Fan B. He (admitted pro hac vice)
/s/
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                                           Roberto Kampfner (admitted pro hac vice)
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                                           Counsel to Debtors and Debtors-in-Possession
